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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK



VIRGINIA L. GIUFFRE,

       Plaintiff / Counterclaim Defendant,

  v.                                         Case No. 19-cv-03377-LAP

ALAN DERSHOWITZ,                             REDACTED VERSION

       Defendant / Counterclaim Plaintiff


            PROFESSOR ALAN DERSHOWITZ’S REPLY IN SUPPORT OF
               MOTION TO DISQUALIFY COOPER & KIRK PLLC
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                                       INTRODUCTION

       Plaintiff Virginia Giuffre (“Plaintiff” or “Giuffre”) filed this action falsely accusing

Professor Dershowitz of sexually assaulting her as part of a sex trafficking conspiracy he

allegedly entered into with Jeffrey Epstein and Ghislaine Maxwell in the early 2000s, and then

defaming her by denying her accusations almost two decades later. Plaintiff’s primary source of

non-public information regarding this alleged conspiracy is unquestionably the discovery she and

her counsel obtained in the Giuffre v. Maxwell case, and the allegations in Plaintiff’s original

complaint and operative Amended Complaint (ECF No. 117) are thus no doubt partially derived

from and informed by this material. Professor Dershowitz accordingly sought the production

from Plaintiff of all confidential discovery material which Plaintiff and her counsel obtained in

the Maxwell case. Professor Dershowitz’s request for the production of these materials which

Plaintiff and her counsel possess was not a discovery “shortcut.” Rather, it was an obligatory

request for the production of relevant, non-privileged materials in the possession of a party and

her counsel; materials which Plaintiff has put directly at issue through her own complaint, and

whose relevance (and indeed, centrality) to this case Plaintiff has conceded through her own

requests for discovery into the very same subject matter from Professor Dershowitz.1

       If, as Plaintiff contends, Professor Dershowitz’s motion for disqualification is

unprecedented, that is only because he finds himself in an unprecedented situation, having been

categorically denied access to a wealth of relevant non-privileged information in the hands of his

litigation adversary. “Inequality of access to information serves as an impediment to full and fair


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  Plaintiff is guilty of precisely the same “shortcut” for which she criticizes Professor
Dershowitz. Among her staggering ninety-six separate requests for production are requests for
copies of all documents produced by all parties and non-parties in the Edwards v. Dershowitz
case, as well as, incredibly, all documents which are responsive to any of the Edwards plaintiffs’
documents requests but which were not produced in that case. See Exhibit A to the
Supplemental Declaration of Christian G. Kiely, at Request Nos. 83-85, and 88-89.


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litigation. . . . Indeed, it is this potential imbalance that has spawned the discovery process and

the legally-mandated practice of exchanging information.” United States v. Yerdon, 2013 WL

600170, at *2 (N.D.N.Y. 2013). The unfair prejudice to Professor Dershowitz of being forced to

litigate on such an unlevel playing field far outweighs any prejudice to Plaintiff of having to find

replacement counsel. Of course, Professor Dershowitz is presently able to illustrate the unfair

prejudice resulting to him from the status quo only by reference to select materials which have

been made available to him. There are no doubt scores of additional materials in Cooper &

Kirk’s possession, the particulars of which are presently unknown to Professor Dershowitz,

which further contribute to Plaintiff’s unfair advantage. If the Court has any doubts remaining

about the severity of the unfair prejudice, then it should allow Professor Dershowitz to take a

keeper of records deposition of Cooper & Kirk to allow the Court to decide this motion based on

a complete record concerning the nature and scope of the materials in Cooper & Kirk’s

possession.

        That said, Professor Dershowitz brought this motion only as a last resort, and he remains

open to alternatives to disqualification. Professor Dershowitz’s preferred solution remains that

he be provided with equal (or roughly equal) access to the Maxwell discovery materials in

Cooper & Kirk’s possession. However, if the Court is not inclined to reconsider its prior rulings

on this issue, then Professor Dershowitz submits that Cooper & Kirk must be disqualified.

                                          ARGUMENT

   I.      THE UNFAIR PREJUDICE TO PROFESSOR DERSHOWITZ RESULTING
           FROM THE DENIAL OF EQUAL ACCESS TO THE MAXWELL
           MATERIALS CANNOT REASONABLY BE QUESTIONED.

           A. Plaintiff Cannot Seriously Deny the Relevance of the Maxwell Materials.

        Plaintiff argues that there will be no unfair prejudice to Professor Dershowitz resulting

from Cooper & Kirk’s continued representation of her because Professor Dershowitz already has


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access to the Maxwell case materials which the Court deems most relevant. (Opp. pp. 16-17).

This argument is flawed for the reasons discuss below, but it is not even correct as a factual

matter. Professor Dershowitz has not in fact been provided all Maxwell case materials bearing

directly on what the Court (and now Plaintiff) considers to be the “central issues” in the case.

One of those central issues, according to Plaintiff herself, is Professor Dershowitz’s assertion

that Plaintiff’s false accusation against him was made as part of an attempt to extort “wealthy

Epstein associates” including Leslie Wexner. (Opp. p. 17). But Professor Dershowitz has been

provided access only to those Maxwell case materials that mention him by name and has been

denied access to Maxwell case materials concerning Wexner and the other prominent friends of

Epstein whom Plaintiff has accused, see ECF No. 174, despite their indisputable and conceded

centrality to this case.

        Perhaps more importantly, however, Plaintiff has put directly at issue, and previously

conceded the relevance of, the much broader set of Maxwell materials in her and her counsel’s

possession. This includes in particular the categories of documents listed on Appendix A to the

parties’ Joint Status Report, ECF No. 153 (included herewith as Suppl. Kiely Decl. Exhibit B),

which Professor Dershowitz previously sought as a form of compromise. To begin with, the

allegations of Plaintiff’s Amended Complaint are not limited to Plaintiff’s own (alleged)

personal observations, but also rely on information apparently derived from the Maxwell

materials.    They include the allegations that “Epstein’s employees have confirmed that

Defendant visited Epstein’s Palm Beach and New York City mansions often, would stay

overnight, and was present when the victims of Epstein’s sex trafficking were there”; that

Professor Dershowitz’s “claims that he was never present where Plaintiff was trafficked and

never in the presence of young girls are lies”; that Professor Dershowitz made his allegedly




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defamatory statements concerning Plaintiff “in concert with Epstein and others, including

Ghislaine Maxwell . . . as part of conspiracy to discredit and try to silence Plaintiff”; that

Professor Dershowitz’s statements were made “pursuant to his conspiracy with Epstein and

Maxwell maliciously as part of an effort to conceal sex trafficking crimes committed around the

world by Epstein and other powerful persons.” Am. Compl., ECF No. 117 at ¶¶ 34; 52; 53; 64

(emphasis added).     All of these allegations are apparently, at least in part, Plaintiff’s

interpretations of discovery from the Maxwell case. On top of that, the Amended Complaint

expressly relies on statements and testimony by Juan Alessi, Maria Farmer and Sarah Ransome,

see ECF No. 117 at ¶¶ 60, 62-64, 72-74, 81,



       In addition, and as Professor Dershowitz has pointed out previously, Plaintiff is suing

him for calling her a “serial liar” who has a “documented history of lying about prominent

people.” Am. Compl., ECF No. 117 at ¶¶17(p) & (n)(i). This Court has not and could not

properly or fairly rule during discovery that Professor Dershowitz is somehow not entitled to

gather information concerning Plaintiff’s multiple lies about other prominent men where she has

put the matter at issue.    Indeed, Plaintiff’s complaint introduced allegations and attached

affidavits from other women concerning Professor Dershowitz’s alleged sexual activity, and

Plaintiff has sought broad discovery into “[a]ll documents and communications relating to any

meeting [Professor Dershowitz] had with any female associated with Jeffrey Epstein or Ghislaine

Maxwell[.]”   Suppl. Kiely Decl. Ex. A. at Request No. 8 (emphasis added).           It is highly

disingenuous for Plaintiff to argue here that it is solely her (falsely) alleged relationship with

Professor Dershowitz that is discoverable.




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       Beyond putting much of the Maxwell discovery directly at issue, Plaintiff has

acknowledged the relevance of the sought-after material by requesting discovery from Professor

Dershowitz on the very same subject matters.          Included herewith as Exhibit C to the

Supplemental Declaration of Christian G. Kiely is a chart which compares the categories of

documents included in Professor Dershowitz’s narrowed request for the production of Maxwell

case materials (Suppl. Kiely Decl. Ex. B) with Plaintiff’s own document requests (Suppl. Kiely

Decl. Ex. A) and search terms which Plaintiff requested be run against Professor Dershowitz’s

Gmail account. Virtually every category of document listed on that Appendix A is included

within Plaintiff’s own document requests to Professor Dershowitz and requested search terms.

Despite Plaintiff’s professed adherence to the Court’s directives regarding the narrow scope of

discovery, Plaintiff has requested in this case the same categories of documents that Defendant is

seeking from the Maxwell case, thereby acknowledging the central relevance of these categories

of documents and the prejudice to Professor Dershowitz resulting from their withholding.

           B. The Prejudice Cannot Be Cured Through Independent Discovery.

       The unfair prejudice to Professor Dershowitz from the present informational asymmetry

simply cannot be adequately cured by attempting to re-construct the Maxwell record in Plaintiff’s

and her counsel’s possession. Professor Dershowitz preemptively addressed this argument in his

opening brief and will not belabor the point here. “[W]hen an opposing party and a non-party

both possess documents, the documents should be sought from the party to the case.” Soto v.

Castlerock Farming and Transport, Inc., 282 F.R.D. 492, 505 (E.D. Cal. 2012). Nonetheless,

even if there were a valid justification for requiring Professor Dershowitz to pursue from non-

parties to this action discovery which is already in the possession of a party, Professor

Dershowitz obviously cannot pursue discovery from persons whose very identities have been

withheld from him, as many of the Maxwell deponents and subpoena recipients have been.


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       Independent discovery is inadequate for another reason. Plaintiff has sued Professor

Dershowitz for defaming her by calling her a “serial liar.” Am. Compl., ECF No. 117 at ¶ (n)(i).

Professor Dershowitz is entitled to prove the truth of this assertion, including by discovering

what factual support Plaintiff had for the increasingly fantastical claims she has made in the

media, including, for example, her claims that Epstein and Maxwell had thousands of underage

victims. See https://twitter.com/VRSVirginia/status/1307975083349037056 (accusing Epstein

pilot Larry Visoski of “carrying 100’s if not 1000’s of underage minors across state borders and

internationally”);    https://twitter.com/vrsvirginia/status/1281901632419008512        (claiming

Maxwell’s victims “are in the 1000’s”). But the question of what Plaintiff knew and when she

knew it is not necessarily a question that can be answered through independent discovery, unless

each non-party is required to provide a complete copy of any document production or testimony

they provided in the Maxwell case. It is thus imperative that Professor Dershowitz be provided

with precisely the same information that Plaintiff has access to.

           C. If the Court Remains Unconvinced of the Seriousness of the Prejudice to
              Professor Dershowitz, It Should Permit a Keeper of Records Deposition of
              Cooper & Kirk.

       Professor Dershowitz is severely hamstrung in his ability to create a record here, forced

to extrapolate based on the small number of Maxwell discovery documents to which he is privy.

Nevertheless, Professor Dershowitz submits that, even based on the limited information available

to him, he has amply demonstrated the patent unfairness to him of the present information

asymmetry. If, however, the Court remains unconvinced, it should permit Professor Dershowitz

to take a deposition of a keeper of records for Cooper & Kirk to better understand the scope and

nature of the materials presently in their possession, including the identities of all persons who

provided deposition or document discovery in the Maxwell case.




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    II.      THERE IS NO BASIS FOR “MUTUAL” DISQUALIFICATION.

          To deflect from their own violation of the Maxwell protective order, Cooper & Kirk

accuse Professor Dershowitz of violating that protective order by producing to Plaintiff in

discovery in this case confidential Maxwell discovery material which was located during a

review of his email. Plaintiff misleadingly suggests that these materials included protected

Maxwell information not already in Cooper & Kirk’s possession. Not so. Included in Professor

Dershowitz’s productions were a small number of sealed pleadings which Cooper & Kirk

represents were not among the materials supplied to them by predecessor counsel at Boies

Schiller Flexner LLP.2 However, these pleadings were sealed only because they referenced or

attached confidential discovery materials, all of which were already in Cooper & Kirk’s

possession. Thus, Professor Dershowitz has not produced any protected information which

Cooper & Kirk did not already possess. Nor is it accurate to suggest that Professor Dershowitz

did not properly designate this material as confidential when producing it, given that it all bears

the original confidential or under seal designations from the Maxwell case.          Finally, it is

completely disingenuous to suggest that Todd & Weld are somehow deserving of mutual

disqualification because in the course of reviewing their client’s email for production, they came

across (and produced to Plaintiff) confidential Maxwell materials which were legitimately

supplied to Professor Dershowitz under the terms of the Maxwell protective order and which

Cooper & Kirk already had in their possession.3


2
  See Opp. Ex. B at row nos. 12-15, 16, 24, 27-28, 32-33, 37, 39, 44, and 48. All documents
reflected in these rows are pleadings with the exception of the document at row 32, which is a
rough copy of a deposition transcript which Cooper & Kirk already possessed in its final form, as
reflected at row 35.
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  If the Court disqualifies Cooper & Kirk, this material could readily be extracted from their
discovery database before turning it over to successor counsel, using the bates numbers listed on
Exhibit B to Plaintiff’s Opposition.


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    III.      COOPER & KIRK’S DISQUALIFICATION WOULD NOT CAUSE UNDUE
              PREJUDICE   TO    PLAINTIFF;   NONETHELESS,    PROFESSOR
              DERSHOWITZ REMAINS OPEN TO ALTERNATIVE RELIEF.

           Plaintiff grossly overstates the prejudice that would result to her if the Court were to

disqualify Cooper & Kirk at this stage in the proceedings. Although document discovery is

indeed well under way, no depositions have yet been taken, and no trial date has been scheduled

or could be scheduled imminently in light of the pandemic. There is no merit to the suggestion

that Plaintiff may not be able to find replacement counsel were Cooper & Kirk to be disqualified;

and while plaintiff would likely have no trouble finding counsel willing to represent her pro

bono, Plaintiff evidently has the resources to pay for counsel.4

           Nonetheless, Cooper & Kirk’s disqualification would obviously result in some degree of

disruption to the case, and Professor Dershowitz agrees with Plaintiff that disqualification is an

imperfect solution – that “familiarizing [replacement] counsel with Plaintiff’s claims without

conferring on them at least some of the advantage of which [Professor Dershowitz] complains

would be next to impossible.” Opp. at 13. Professor Dershowitz’s preferred solution therefore

remains that he be provided with equal access to the Maxwell discovery materials in Cooper &

Kirk’s possession, or something, like a comprehensive, unredacted inventory, that assures that

these materials can be re-assembled through independent discovery. That is the only way to cure

the fundamental unfairness here.

                                           CONCLUSION

           For the foregoing reasons and the reasons stated in his opening Memorandum of Law,

Professor Dershowitz respectfully requests that if the Court remains disinclined to permit

Professor Dershowitz broader access to the Maxwell materials than simply those materials which

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  Plaintiff recently purchased a multi-million dollar beachfront home near Perth, Western
Australia. See https://www.dailymail.co.uk/news/article-9013123/Jeffrey-Epstein-sex-victim-
Virginia-Roberts-moves-1-9million-Ocean-Reef-Perth-home-family.html.


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mention him, that the Court enter an order disqualifying Cooper & Kirk from continuing to

represent Plaintiff in this action. Professor Dershowitz respectfully requests that the Court hold

oral argument on his Motion.




                                       Respectfully submitted,

                                       ALAN DERSHOWITZ,

                                       By his attorneys,


                                       /s/ Howard M. Cooper
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Dated: December 11, 2020




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via the Court’s electronic filing
system and served to all counsel of record on December 11, 2020.

                                              /s/ Christian G. Kiely
                                              Christian G. Kiely




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